                                    STATE OF MICHIGAN

                IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE


CITIZENS UNITED AGAINST CORRUPT GOVERNMENT

                     Plaintiff

-vs-                                               CASE NO. 13-010901 AW
                                                   Hon. Lita Popke                 13-010901-AW
                                                                             FILED IN MY OFFICE
SAUNTEEL JENKINS, in her official capacity as the                          WAYNE COUNTY CLERK
Duly “appointed” President of the Detroit City Council                         9/10/2013 4:24:54 PM
                                                                             CATHY M. GARRETT
                  Defendant.
__________________________________________/                                     /s/ Belinda Roberts
                                  ORDER TO SHOW CAUSE


       THIS MATTER is before the Court on the Plaintiff’s Ex Parte Application for
Leave to File Complaint for Writ of Quo Warranto Against Saunteel Jenkins, and the
Court having reviewed the pleadings and applicable law, and having determined that a
response from the Defendant is necessary in order for the Court to make a ruling on the
Ex Parte Application, and being otherwise fully advised in the premises;
       IT IS HEREBY ORDERED that SAUNTEEL JENKINS, in her official capacity as
the President of the Detroit City Council, shall file a responsive brief on or before
Thursday September 26, 2013 and Show Cause as to why the Complaint for Writ of
Quo Warranto should not be granted.
       IT IS FURTHER ORDERED that Plaintiff shall serve the pleadings and a copy of
this Order on the Defendant no later than September 12, 2013.
       IT IS SO ORDERED.



                                              /s/ Lita M. Popke
 9/10/2013
___________                                 ____________________________________
Date                                        LITA M. POPKE
                                            Circuit Court Judge




 13-53846-tjt    Doc 949-8       Filed 09/19/13   Entered 09/19/13 15:33:40    Page 1 of 2
13-53846-tjt   Doc 949-8   Filed 09/19/13   Entered 09/19/13 15:33:40   Page 2 of 2
